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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION




AUGUST DEKKER, et al.,                         Case No. 4:22-cv-00325-RH-
                                               MAF
       Plaintiffs,

v.

JASON WEIDA, et al.,
       Defendants.




 BRIEF OF AMICI CURIAE AMERICAN ACADEMY OF PEDIATRICS
AND ADDITIONAL NATIONAL AND STATE MEDICAL AND MENTAL
    HEALTH ORGANIZATIONS IN SUPPORT OF PLAINTIFFS’
         OPPOSITION TO DEFENDANTS’ MOTION FOR
                   SUMMARY JUDGMENT
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                CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for

the American Academy of Pediatrics (“AAP”), the Academic Pediatric Association,

the American Academy of Child & Adolescent Psychiatry (“AACAP”), the

American Academy of Family Physicians (“AAFP”), the American Academy of

Nursing (“AAN”), the American Association of Physicians for Human Rights, Inc.

d/b/a GLMA: Health Professionals Advancing LGBTQ+ Equality (“GLMA”), the

American College of Obstetricians and Gynecologists (“ACOG”), the American

College of Osteopathic Pediatricians (“ACOP”), the American College of

Physicians (“ACP”), the American Medical Association (“AMA”), the American

Pediatric Society (“APS”), the American Psychiatric Association (“APA”), the

Association of American Medical Colleges (“AAMC”), Association of Medical

School Pediatric Department Chairs, Inc. (“AMSPDC”), the Endocrine Society, the

Florida Chapter of the American Academy of Pediatrics (“FCAAP”), the National

Association of Pediatric Nurse Practitioners (“NAPNAP”), the Pediatric Endocrine

Society (“PES”), the Societies for Pediatric Urology (“SPU”), the Society for

Adolescent Health and Medicine (“SAHM”), the Society for Pediatric Research

(“SPR”), the Society of Pediatric Nurses (“SPN”), and the World Professional

Association for Transgender Health (“WPATH”) certify that:

      1.    AAP, the Academic Pediatric Association, AACAP, AAFP, AAN,

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GLMA, ACOG, ACOP, ACP, AMA, APS, APA, AAMC, AMSPDC, the Endocrine

Society, FCAAP, NAPNAP, PES, SPU, SAHM, SPR, SPN, and WPATH,

respectively, have no parent corporation.

      2.    No corporations hold any stock in AAP, the Academic Pediatric

Association, AACAP, AAFP, AAN, GLMA, ACOG, ACOP, ACP, AMA, APS,

APA, AAMC, AMSPDC, the Endocrine Society, FCAAP, NAPNAP, PES, SPU,

SAHM, SPR, SPN, or WPATH.




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              STATEMENT OF INTEREST OF AMICI CURIAE
      Amici curiae are the American Academy of Pediatrics (“AAP”), the Academic

Pediatric Association, the American Academy of Child & Adolescent Psychiatry

(“AACAP”), the American Academy of Family Physicians (“AAFP”), the American

Academy of Nursing (“AAN”), the American Association of Physicians for Human

Rights, Inc. d/b/a GLMA: Health Professionals Advancing LGBTQ+ Equality

(“GLMA”), the American College of Obstetricians and Gynecologists (“ACOG”),

the American College of Osteopathic Pediatricians (“ACOP”), the American

College of Physicians (“ACP”), the American Medical Association (“AMA”), the

American Pediatric Society (“APS”), the American Psychiatric Association

(“APA”), the Association of American Medical Colleges (“AAMC”), Association

of Medical School Pediatric Department Chairs, Inc. (“AMSPDC”), the Endocrine

Society, the Florida Chapter of the American Academy of Pediatrics (“FCAAP”),

the National Association of Pediatric Nurse Practitioners (“NAPNAP”), the

Pediatric Endocrine Society (“PES”), the Societies for Pediatric Urology (“SPU”),

the Society for Adolescent Health and Medicine (“SAHM”), the Society for

Pediatric Research (“SPR”), the Society of Pediatric Nurses (“SPN”), and the World

Professional Association for Transgender Health (“WPATH”). 1


1
  Plaintiffs and Defendants have consented to the filing of this brief. Amici affirm
that no counsel for a party authored this brief in whole or in part and that no person


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      Amici are professional medical and mental health organizations seeking to

ensure that all individuals, including those with gender dysphoria, receive the

optimal medical and mental healthcare they need and deserve. Amici represent

thousands of healthcare providers who have specific expertise with the issues raised

in this brief. The Court should consider amici’s brief because it provides important

expertise and addresses misstatements about the treatment of gender dysphoria.




other than amici or their counsel made any monetary contributions intended to fund
the preparation or submission of this brief.

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                                 INTRODUCTION
      Rule 59G-1.010(7) of the Florida Administrative Code (the “Medicaid Ban”)

eliminates Florida Medicaid coverage for critical, medically necessary, evidence-

based treatments for gender dysphoria. Denying coverage for such care effectively

denies access to it for Florida Medicaid recipients who meet the requisite medical

criteria, putting them at risk of significant harm. The basis for the Medicaid Ban,

the Division of Florida Medicaid’s June 2, 2022 “Generally Accepted Professional

Medical Standards Determination on the Treatment of Gender Dysphoria” (the

“GAPMS Report”)       2
                          , mischaracterizes the professionally-accepted medical

guidelines for treating gender dysphoria and the guidelines’ supporting evidence.

Below, amici provide the Court with an accurate description of these treatment

guidelines and summarize the scientific evidence supporting the medical

interventions prohibited by the Medicaid Ban. While the Medicaid Ban affects all

patients who are receiving treatment for gender dysphoria, this brief focuses

primarily on the experience of transgender adolescents.3

      Gender dysphoria is a clinical condition that is marked by distress due to an




2
  Available at https://www.ahca.myflorida.com/letkidsbekids/docs/
AHCA_GAPMS_June_2022_Report.pdf.
3
  Because this brief focuses primarily on adolescents, it does not discuss surgeries
that are typically available to transgender adults.


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incongruence between the patient’s gender identity (i.e., the innate sense of oneself

as being a particular gender) and sex assigned at birth. This incongruence can lead

to clinically significant distress and impair functioning in many aspects of the

patient’s life.4 If not treated, or treated improperly, gender dysphoria can result in

debilitating anxiety, depression, and self-harm, and is associated with higher rates

of suicide. As such, the effective treatment of gender dysphoria saves lives.

      The widely accepted recommendation of the medical community, including

that of the respected professional organizations participating here as amici, is that

the standard of care for treating gender dysphoria is “gender-affirming care.” 5

Gender-affirming care is care that supports individuals with gender dysphoria as

they explore their gender identity—in contrast with efforts to change the individual’s

gender identity to match their sex assigned at birth, which are known to be

ineffective and harmful. 6 For adolescents with persistent gender dysphoria that

worsens with the onset of puberty, gender-affirming care may include medical



4
 See, e.g., Jason Rafferty, Ensuring Comprehensive Care and Support for
Transgender and Gender-Diverse Children and Adolescents, 142(4) PEDIATRICS
e20182162, at 2–3, tbl.1 (2018) (hereinafter, “AAP Policy Statement”),
https://publications.aap.org/pediatrics/article/142/4/e20182162/37381/Ensuring-
Comprehensive-Care-and-Support-for.
5
  Id. at 10.
6
  See, e.g., Christy Mallory et al., Conversion Therapy and LGBT Youth, Williams
Inst. (June 2019), https://williamsinstitute.law.ucla.edu/wp-
content/uploads/Conversion-Therapy-Update-Jun-2019.pdf.


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interventions to align their physiology with their gender identity. Empirical

evidence indicates that gender-affirming care, including gender-affirming medical

interventions, in carefully evaluated patients who meet diagnostic criteria can

alleviate clinically significant distress and lead to significant improvements in the

mental health and overall well-being of adolescents with gender dysphoria. 7

         The Medicaid Ban disregards this medical evidence by precluding Florida

Medicaid reimbursement for the treatment of patients with gender dysphoria in

accordance with the accepted standard of care. Accordingly, amici urge this Court

to deny Defendants’ motion for summary judgment.

                                       ARGUMENT
         This brief first provides background on gender identity and gender dysphoria.

It then describes the professionally-accepted medical guidelines for treating gender

dysphoria as they apply to adolescents, the scientifically rigorous process by which

these guidelines were developed, and the evidence that supports the effectiveness of

this care for adolescents with gender dysphoria. Finally, the brief corrects multiple

inaccuracies in the GAPMS Report, and explains how the Medicaid Ban would

irreparably harm adolescents with gender dysphoria by denying crucial care to those

who need it.




7
    See Martin, infra note 32, at 2.

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I.       Understanding Gender Identity and Gender Dysphoria.
         A person’s gender identity is a person’s deep internal sense of belonging to a

particular gender.8 Most people have a gender identity that aligns with their sex

assigned at birth.9 However, transgender people have a gender identity that does not

align with their sex assigned at birth. 10 In the United States, it is estimated that

approximately 1.4 million individuals are transgender. 11 Of these individuals,

approximately 10% are teenagers aged 13 to 17. 12 Individuals often start to

understand their gender identity during prepubertal childhood and adolescence.

         Today, there is an increasing understanding that being transgender is a normal

variation of human identity. 13 However, many transgender people suffer from


8
    AAP Policy Statement, supra note 4, at 2 tbl.1.
9
 See Am. Psychological Ass’n, Guidelines for Psychological Practice with
Transgender and Gender Nonconforming People, 70(9) AMERICAN PSYCHOLOGIST
832, 862 (2015) (hereinafter, “Am. Psychological Ass’n Guidelines”),
https://www.apa.org/practice/guidelines/transgender.pdf.
10
     See id. at 863.
11
  See Jody L. Herman et al., Ages of Individuals Who Identify as Transgender in the
United        States,      Williams      Inst.,    at     2       (Jan.     2017),
http://williamsinstitute.law.ucla.edu/wp-content/uploads/Age-Trans-Individuals-
Jan-2017.pdf.
12
     See id. at 3.
13
  James L. Madara, AMA to States: Stop Interfering in Healthcare of Transgender
Children, Am. Med. Ass’n (Apr. 26, 2021), https://www.ama-assn.org/press-
center/press-releases/ama-states-stop-interfering-health-care-transgender-children;
see also Am. Psychological Ass’n, APA Resolution on Gender Identity Change
Efforts, 4 (Feb. 2021), https://www.apa.org/about/policy/resolution-gender-


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gender dysphoria, a serious medical condition in which the patient experiences

significant distress that can lead to “impairment in peer and/or family relationships,

school performance, or other aspects of their life.”14 Gender dysphoria is a formal

diagnosis under the American Psychiatric Association’s Diagnostic and Statistical

Manual (DSM-5-TR). 15

         If untreated or inadequately treated, gender dysphoria can cause depression,

anxiety, self-harm, and suicidality. 16 Indeed, over 60% of transgender adolescents

and young adults reported having engaged in self-harm during the preceding

12 months, and over 75% reported symptoms of generalized anxiety disorder in the

preceding two weeks. 17 Even more troubling, more than 50% of this population

reported having seriously considered attempting suicide, 18 and more than one in

three transgender adolescents reported having attempted suicide in the preceding




identity-change-efforts.pdf.
14
   AAP Policy Statement, supra note 4, at 3.
15
   See Am. Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental
Disorders: DSM-5 – TR at 512–13 (2022).
16
   See Brayden N. Kameg & Donna G. Nativio, Gender Dysphoria In Youth: An
Overview For Primary Care Providers. 30(9) J. AM. ASSOC. NURSE PRAC. 493
(2018), https://pubmed.ncbi.nlm.nih.gov/30095668.
17
  See Amit Paley, The Trevor Project 2020 National Survey, at 1,
https://www.thetrevorproject.org/wp-content/uploads/2020/07/The-Trevor-Project-
National-Survey-Results-2020.pdf.
18
     See id. at 2.


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12 months. 19 The statistics are similar for transgender adults.20

II.     The Widely Accepted Guidelines for Treating Adolescents with Gender
        Dysphoria Provide for Medical Interventions When Indicated.
        The widely accepted view of the professional medical community is that

gender-affirming care is the appropriate treatment for gender dysphoria and that, for

some adolescents, gender-affirming medical interventions are necessary. 21 This care

greatly reduces the negative physical and mental health consequences that result




19
  See Michelle M. Johns et al., Transgender Identity and Experiences of Violence
Victimization, Substance Use, Suicide Risk, and Sexual Risk Behaviors Among
High School Students–19 States and Large Urban School Districts, 2017, US
Dep’t of Health and Human Servs., Centers for Disease Control & Prevention, 68
MORBIDITY & MORTALITY WKLY. REP. 67, 70 (2019),
https://www.cdc.gov/mmwr/volumes/68/wr/pdfs/mm6803a3-H.pdf.
20
   Transgender adults, like adolescents, have a higher prevalence of depression and
suicidality than the general population. See, e.g., Jody L. Herman et al., Suicide
Thoughts And Attempts Among Transgender Adults:, Findings From The 2015 US
Transgender Survey, UCLA Williams Inst. (2019),
https://escholarship.org/uc/item/1812g3hm. Elevated rates of depression and
suicidality in transgender adults have also been linked to societal stigma, abuse,
violence, and discrimination. See, e.g., Larry Nuttbrock et al., Gender Abuse,
Depressive Symptoms, And Substance Use Among Transgender Women: A 3-Year
Prospective Study, 104(11) AM. J. PUB. HEALTH 2199–2206 (2014),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4202966/; Amanda L. Peterson et
al., Ambient Discrimination, Victimization, And Suicidality In A Non-Probability
US Sample Of LGBTQ Adults, 50(3) ARCHIVES SEXUAL BEHAV. 1003–1014
(2021).
21
    See, e.g., Endocrine Soc’y, Transgender Health: An Endocrine Society Position
Statement (2020), https://www.endocrine.org/advocacy/position-
statements/transgender-health.


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when gender dysphoria is untreated. 22

         A.    The Gender Dysphoria Treatment Guidelines Include Thorough
               Mental Health Assessments and, for Some Adolescents, Medical
               Interventions.
         The treatment protocols for gender dysphoria are laid out in established,

evidence-based clinical guidelines: (i) the Endocrine Society Clinical Practice

Guideline for Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent

Persons, and (ii) the WPATH Standards of Care for the Health of Transsexual,

Transgender, and Gender-Nonconforming People (together, the “Guidelines”). 23

The Guidelines have been developed by expert clinicians and researchers who have

worked with patients with gender dysphoria for many years.

         The Guidelines provide that all youth with gender dysphoria should be

evaluated, diagnosed, and treated by a qualified health care professional (“HCP”).

Further, the Guidelines provide that each patient who receives gender-affirming care

should receive only evidence-based, medically necessary, and appropriate

interventions that are tailored to the patient’s individual needs.


22
     See id.
23
  Wylie C. Hembree et al., Endocrine Treatment of Gender-Dysphoric/Gender-
Incongruent Persons, 102(11) J. CLINICAL ENDOCRINOLOGY & METABOLISM 3869
(Nov. 2017) (hereinafter, “Endocrine Soc’y Guidelines”),
https://academic.oup.com/jcem/article/102/11/3869/4157558; WPATH, Standards
of Care for the Health of Transgender and Gender Diverse People (8th Version)
(hereinafter “WPATH Guidelines”),
https://www.tandfonline.com/doi/pdf/10.1080/26895269.2022.2100644.

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                   1.   A Robust Diagnostic Assessment Is Required Before Medical
                        Interventions Are Provided.
         According to the Guidelines, gender-affirming care for adolescents begins

with a thorough evaluation by a HCP who: (1) is licensed by their statutory body

and holds a master’s degree or equivalent in a relevant clinical field; (2) has expertise

and received theoretical and evidence-based training in child, adolescent, and family

mental health; (3) has expertise and received training in gender identity

development, gender diversity in children and adolescents, can assess capacity to

consent, and possesses knowledge about gender diversity across the life span; (4)

has expertise and received training in autism spectrum disorders and other

neurodevelopmental presentations, or collaborates with a developmental disability

expert when working with neurodivergent patients; and (5) continues engagement in

professional development in areas relevant to gender diverse children, adolescents,

and families.24

         Prior to developing a treatment plan, the HCP should conduct a

“comprehensive biopsychosocial assessment” of the adolescent patient. 25 The HCP

conducts this assessment to “understand the adolescent’s strengths, vulnerabilities,

diagnostic profile, and unique needs,” so that the resulting treatment plan is


24
     See WPATH Guidelines, supra note 23, at S49.
25
     Id. at S50.


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appropriately individualized.26 This assessment must be conducted collaboratively

with the patient and their caregiver(s).27

               2.    The    Guidelines  Recommend     Only   Non-Medical
                     Interventions for Prepubertal Children With Gender
                     Dysphoria.
         For prepubertal children with gender dysphoria, the Guidelines provide for

mental health care and support for the child and their family. 28 The Guidelines do

not recommend that any medical interventions (such as medications or surgery) be

provided to prepubertal children with gender dysphoria.29

               3.    In Certain Circumstances, the Guidelines Provide for the Use
                     of Medical Interventions to Treat Adolescents With Gender
                     Dysphoria.
         For youths with gender dysphoria that continues into adolescence—after the

onset of puberty—the Guidelines provide that, in addition to mental health care,

medical interventions may be indicated. Before an adolescent may receive any

medical interventions for gender dysphoria, a qualified HCP must determine that:

(1) the adolescent meets the diagnostic criteria of gender incongruence according to

the World Health Organization’s International Classification of Diseases; (2) the



26
   Id.
27
   Id.
28
     See id. at S73–S74; Endocrine Soc’y Guidelines at 3877–78.
29
  See WPATH Guidelines, supra note 23, at S64; Endocrine Soc’y Guidelines,
supra note 23, at 3871.

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adolescent has demonstrated a sustained and persistent pattern of gender

nonconformity or gender dysphoria; (3) the adolescent has demonstrated the

emotional and cognitive maturity required to provide informed consent for

treatment; (4) any coexisting psychological, medical, or social problems that could

interfere with diagnosis, treatment, or the adolescent's ability to consent have been

addressed; (5) the adolescent has been informed of the reproductive effects of

treatment in the context of their stage in pubertal development and discussed fertility

preservation options; and (6) the adolescent has reached Tanner stage 2 of puberty

to initiate pubertal suppression. 30 Further, a pediatric endocrinologist or other

clinician experienced in pubertal assessment must (7) agree with the indication for

treatment, (8) confirm the patient has started puberty, and (9) confirm that there are

no medical contraindications. 31

       If all of the above criteria are met, the Guidelines instruct that gonadotropin-

releasing hormone (GnRH) analogues, or “puberty blockers,” may be offered

beginning at the onset of puberty. 32 The purpose of puberty blockers is to delay



30
   WPATH Guidelines, supra note 23, at S59–65.
31
   Endocrine Soc’y Guidelines, supra note 23, at 3878 tbl.5.
32
  WPATH Guidelines, supra note 23, at S64; Simona Martin et al.,
Criminalization of Gender-Affirming Care—Interfering with Essential Treatment
for Transgender Children and Adolescents, 385 NEW ENG. J. MED. 579 (2021),
https://www.nejm.org/doi/full/10.1056/NEJMp2106314.


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pubertal development until adolescents are old enough and have had sufficient time

to make more informed decisions about whether to pursue further treatments. 33

Puberty blockers also can make pursuing transition later in life easier, because they

prevent irreversible bodily changes such as protrusion of the Adam’s apple or breast

growth.34 Puberty blockers have well-known efficacy and side-effect profiles and

their effects are generally reversible. 35 In fact, puberty blockers have been used by

pediatric endocrinologists for more than 40 years for the treatment of precocious

puberty. 36 The risks of any serious adverse effects from these treatments are

exceedingly rare when provided under clinical supervision.37

         Later in adolescence—and if the criteria below are met—hormone therapy




33
     WPATH Guidelines, supra note 23, at S112.
34
     See AAP Policy Statement, supra note 4, at 5.
35
     See Martin, supra note 32, at 2..
36
  See F. Comite et al., Short-Term Treatment of Idiopathic Precocious Puberty with
a Long-Acting Analogue of Luteinizing Hormone-Releasing Hormone — A
Preliminary Report, 305 NEW ENG. J. MED. 1546 (1981).
37
  See, e.g., Annemieke S. Staphorsius et al., Puberty Suppression and Executive
Functioning: An Fmri-Study in Adolescents with Gender Dysphoria, 6
PSCYHONEUROENDOCRINOLOGY 190 (2015),
https://pubmed.ncbi.nlm.nih.gov/25837854 (no adverse impact on executive
functioning); Ken C. Pang et al., Long-term Puberty Suppression for a Nonbinary
Teenager, 145(2) PEDIATRICS e20191606 (2019),
https://watermark.silverchair.com/peds_20191606.pdf (exceedingly low risk of
delayed bone mineralization from hormone treatment).


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may be used to initiate puberty consistent with the patient’s gender identity. 38

Hormone therapy involves using gender-affirming hormones to allow adolescents to

develop secondary sex characteristics consistent with their gender identity. 39

Hormone therapy is only prescribed when a qualified mental health professional

(“MHP”) has confirmed the persistence of the patient’s gender dysphoria, the

patient’s mental capacity to assent to the treatment, and that any coexisting problems

have been addressed.40 A pediatric endocrinologist or other clinician experienced in

pubertal induction must also agree with the indication, and the patient and their

parents or guardians must be informed of the potential effects and side effects and

give their informed consent.41 Although some of the changes caused by hormone

therapy become irreversible after those secondary sex characteristics are fully

developed, others are partially reversible if the patient discontinues use of the

hormones. 42

         The Guidelines contemplate that the prescription of puberty blockers and/or

hormone therapy be coupled with education on the safe use of such medications and



38
     Martin, supra note 32, at 2.
39
     See AAP Policy Statement, supra note 4, at 6.
40
     Endocrine Soc’y Guidelines, supra note 23, at 3878 tbl.5.
41
     See id.
42
     See AAP Policy Statement, supra note 4, at 5–6.


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close monitoring to mitigate any potential risks. 43       Decisions regarding the

appropriate treatment for each patient with gender dysphoria are made in

consultation with the patient, their parents or guardians, and the medical and mental

health care team. There is “no one-size-fits-all approach to this kind of care.”44

       B.    The Guidelines for Treating Gender Dysphoria Were Developed
             Through a Robust and Transparent Process, Employing the Same
             Scientific Rigor That Underpins Other Medical Guidelines.
       The Guidelines are the product of careful and robust deliberation following

the same types of processes—and subject to the same types of rigorous

requirements—as other guidelines promulgated by amici and other medical

organizations.

       For example, the Endocrine Society’s Guidelines were developed following a

26-step, 26-month drafting, comment, and review process.45 The Endocrine Society

imposes strict evidentiary requirements based on the internationally recognized

Grading of Recommendations Assessment, Development and Evaluation (GRADE)

system. 46 That GRADE assessment is then reviewed, re-reviewed, and reviewed


43
   See Endocrine Soc’y Guidelines, supra note 23, at 3871, 3876.
44
   Martin, supra note 33, at 1.
45
  See, e.g., Endocrine Soc’y Guidelines, supra note 23, at 3872–73 (high-level
overview of methodology).
46
  See Gordon Guyatt et al., GRADE Guidelines: 1. Introduction - GRADE
Evidence Profiles and Summary of Findings Tables, 64 J. CLINICAL EPIDEMIOLOGY
383 (2011),


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again by multiple, independent groups of professionals.47 Reviewers are subject to

strict conflict of interest rules, and there is ample opportunity for feedback and

debate through the years-long review process. 48 Further, the Endocrine Society

continually reviews its own guidelines and recently determined that the 2017

transgender care guidelines continue to reflect the best, most up-to-date available

evidence.

         First published in 1979, the WPATH Standards of Care are currently in their

8th Edition. The current Standards of Care are the result of a robust drafting,

comment, and review process that collectively took five years. 49         The draft

guidelines went through rigorous review and were publicly available for discussion

and debate, receiving a total of 2,688 comments. 50 119 authors were ultimately

involved in the final draft, including feedback from experts in the field as well as




https://ahpsr.who.int/docs/librariesprovider11/publications/supplementary-
material/hsr-synthesis-guyatt-2011.pdf; Gordon H. Guyatt et al., GRADE: An
Emerging Consensus on Rating Quality of Evidence and Strength of
Recommendations, 336 BMJ 924 (2008),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2335261/.
47
  Endocrine Society, Methodology, https://www.endocrine.org/clinical-practice-
guidelines/methodology.
48
     See id.
49
   See WPATH Guidelines, supra note 23, at S247–51.
50
   See id.


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from transgender individuals and their families.51

       C.    Scientific Evidence Indicates the Effectiveness of Treating Gender
             Dysphoria According to the Guidelines.
       Multiple studies indicate that adolescents with gender dysphoria who receive

gender-affirming medical care experience improvements in their overall well-

being. 52 Nine studies have been published that investigated the use of puberty

blockers on adolescents with gender dysphoria, 53 and nine studies have been


51
   See id.
52
   See Martin, supra note 33, at 2.
53
  See, e.g., Christal Achille et al., Longitudinal Impact of Gender-Affirming
Endocrine Intervention on The Mental Health and Wellbeing of Transgender
Youths: Preliminary Results, 8 INT’L J PEDIATRIC ENDOCRINOLOGY 1–5 (2020),
https://pubmed.ncbi.nlm.nih.gov/32368216; Polly Carmichael et al., Short-Term
Outcomes of Pubertal Suppression in a Selected Cohort of 12 to 15 Year Old
Young People With Persistent Gender Dysphoria in the UK, 16(2) PLOS ONE
e0243894 (2021), https://pubmed.ncbi.nlm.nih.gov/33529227; Rosalia Costa et al.,
Psychological Support, Puberty Suppression, and Psychosocial Functioning in
Adolescents with Gender Dysphoria, 12(11) J. SEXUAL MED. 2206–2214 (2015),
https://pubmed.ncbi.nlm.nih.gov/26556015; Annelou L.C. de Vries et al., Puberty
Suppression In Adolescents With Gender Identity Disorder: A Prospective Follow-
Up Study, 8(8) J. SEXUAL MED. 2276–2283 (2011),
https://pubmed.ncbi.nlm.nih.gov/20646177; Annelou L.C. de Vries et al., Young
Adult Psychological Outcome After Puberty Suppression And Gender
Reassignment, 134(4) PEDIATRICS 696–704 (2014),
https://pubmed.ncbi.nlm.nih.gov/25201798; Laura E. Kuper, et al., Body
Dissatisfaction and Mental Health Outcomes of Youth on Gender-Affirming
Hormone Therapy, 145(4) PEDIATRICS e20193006 (2020),
https://pubmed.ncbi.nlm.nih.gov/32220906; Jack L. Turban et al., Pubertal
Suppression For Transgender Youth And Risk of Suicidal Ideation, 145(2)
PEDIATRICS e20191725 (2020),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7073269; Anna I.R. van der


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published that investigated the use of hormone therapy to treat adolescents with

gender dysphoria.54 These studies find positive mental health outcomes for those

adolescents who received puberty blockers or hormone therapy, including

statistically significant reductions in anxiety, depression, and suicidal ideation.55


Miesen, Psychological Functioning in Transgender Adolescents Before and After
Gender-Affirmative Care Compared With Cisgender General Population Peers,
66(6) J. ADOLESCENT HEALTH 699–704 (2020); Diana M. Tordoff et al., Mental
Health Outcomes In Transgender And Nonbinary Youths Receiving Gender-
Affirming Care, 5(2) JAMA NETWORK OPEN e220978 (2022),
https://pubmed.ncbi.nlm.nih.gov/35212746/.
54
   See, e.g., Christal Achille et al., Longitudinal Impact of Gender-Affirming
Endocrine Intervention on The Mental Health and Well-Being of Transgender
Youths: Preliminary Results, 8 INT’L J. PEDIATRIC ENDOCRINOLOGY 1–5 (2020),
https://pubmed.ncbi.nlm.nih.gov/32368216; Luke R. Allen et al., Well-Being and
Suicidality Among Transgender Youth After Gender-Affirming Hormones, 7(3)
CLINICAL PRAC. PEDIATRIC PSYCH. 302 (2019),
https://psycnet.apa.org/record/2019-52280-009; Diane Chen et al., Psychosocial
Functioning in Transgender Youth after 2 Years of Hormones, 388(3) NEW ENG. J.
MED 240–50 (2023); Diego Lopez de Lara et al., Psychosocial Assessment in
Transgender Adolescents, 93(1) ANALES DE PEDIATRIA 41–48 (English ed. 2020),
https://www.researchgate.net/publication/342652073; Annelou L.C. De Vries et
al., Young Adult Psychological Outcome After Puberty Suppression and Gender
Reassignment, 134(4) PEDIATRICS 696–704 (2014); Rittakerttu Kaltiala et al.,
Adolescent Development And Psychosocial Functioning After Starting Cross-Sex
Hormones For Gender Dysphoria, 74(3) NORDIC J. PSYCHIATRY 213 (2020);
Kuper, supra note 53; Amy E. Green et al., Association of Gender-Affirming
Hormone Therapy with Depression, Thoughts of Suicide, and Attempted Suicide
Among Transgender and Nonbinary Youth, J. ADOLESCENT HEALTH (2021),
https://www.jahonline.org/article/S1054-139X(21)00568-1/fulltext; Jack L. Turban
et al., Access To Gender-Affirming Hormones During Adolescence and Mental
Health Outcomes Among Transgender Adults, J. PLOS ONE (2022),
https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0261039.
55
   The data likewise indicates that adults who receive gender-affirming care


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         For example, a 2020 study analyzed survey data from 89 transgender adults

who had access to puberty blockers while adolescents and from more than 3,400

transgender adults who did not.56 The study found that those who received puberty

blocking treatment had lower odds of lifetime suicidal ideation than those who

wanted puberty blocking treatment but did not receive it, even after adjusting for

demographic variables and level of family support. 57 Approximately nine in ten

transgender adults who wanted puberty blocking treatment but did not receive it

reported lifetime suicidal ideation.58 Additionally, a longitudinal study of nearly 50

transgender adolescents found that suicidality was decreased by a statistically-

significant degree after receiving gender-affirming hormone treatment. 59 A study

published in January 2023, following 315 participants age 12 to 20 who received

gender-affirming hormone treatment, found that the treatment was associated with

decreased symptoms of depression and anxiety. 60




experience positive mental health outcomes. See, e.g., Zoe Aldridge et al., Long
Term Effect of Gender Affirming Hormone Treatment on Depression and Anxiety
Symptoms in Transgender People: A Prospective Cohort Study, 9 ANDROLOGY
1808–1816 (2021).
56
   See Turban, supra note 53.
57
   See id.
58
     See id.
59
   See Allen, supra note 54.
60
   See Chen et al., supra note 54.



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       As another example, a prospective two-year follow-up study of adolescents

with gender dysphoria published in 2011 found that treatment with puberty blockers

was associated with decreased depression and improved overall functioning. 61 A

six-year follow-up study of 55 individuals from the 2011 study found that

subsequent treatment with hormone therapy followed by surgery in adulthood was

associated with a statistically significant decrease in depression and anxiety. 62

“Remarkably, this study demonstrated that these transgender adolescents and young

adults had a sense of well-being that was equivalent or superior to that seen in age-

matched controls from the general population.”63

       As scientists and researchers, amici always welcome more research, including

on this crucial topic. However, the available data indicate that the gender-affirming

treatments prohibited by the Medicaid Ban are effective for the treatment of gender

dysphoria. As the U.S. Court of Appeals for the Eighth Circuit recently recognized




61
   See Annelou L.C. de Vries et al., Puberty Suppression in Adolescents with
Gender Identity Disorder: A Prospective Follow-Up Study, 8(8) J. SEXUAL MED.
2276 (2011), https://pubmed.ncbi.nlm.nih.gov/20646177.
62
   Annelou L.C. de Vries et al., Young Adult Psychological outcome After Puberty
Suppression and gender Reassignment, 134(4) PEDIATRICS 696 (2014),
https://pubmed.ncbi.nlm.nih.gov/25201798.
63
   Stephen M. Rosenthal, Challenges in the Care of Transgender and Gender-
Diverse Youth: An Endocrinologist’s View, 17(10) NATURE REV. ENDOCRINOLOGY
581, 586 (Oct. 2021), https://pubmed.ncbi.nlm.nih.gov/34376826.


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in affirming an order preliminarily enjoining enforcement of a similar Arkansas law,

“there is substantial evidence … that the [Arkansas] Act prohibits medical treatment

that conforms with the recognized standard of care.”64

III.     The GAPMS Report Is Factually Inaccurate and Ignores the
         Recommendations of the Medical Community.
         The GAPMS Report asserts that puberty blockers, gender-affirming

hormone therapy, and gender-affirming surgeries are not consistent with

professional medical standards and that there is insufficient evidence that these

interventions are safe and effective.65 However, this assertion is premised on

speculative and discredited claims about gender dysphoria and

mischaracterizations of the Guidelines and scientific research regarding these

gender-affirming medical interventions.

         A.    There is No Evidence That Gender Dysphoria Can Be Caused by
               Underlying Mental Illness or “Social Contagion”
         The GAPMS Report speculates that mental health concerns such as

depression and anxiety may cause individuals to develop a gender identity that is




64
   Brandt ex rel. Brandt v. Rutledge, 47 F.4th 661, 671 (8th Cir. Aug. 25, 2022);
see also Brandt v. Rutledge, 551 F. Supp. 3d 882, 890 (E.D. Ark. 2021) (“The
consensus recommendation of medical organizations is that the only effective
treatment for individuals at risk of or suffering from gender dysphoria is to provide
gender-affirming care.”).
65
     GAPMS Report, supra note 2, at 38.


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incongruent with their sex assigned at birth. 66 However, the report cites no

evidence for this assertion, and the scientific research suggests that the reverse is

true: research has shown that transgender individuals frequently experience

discrimination, harassment, and even violence on account of their gender

identity, 67 and that these experiences lead to mental health concerns, including, for

example, depression and anxiety. 68

        The GAPMS Report also claims that exposure to “peer groups and social

media that emphasized transgender lifestyles” can cause “rapid-onset gender

dysphoria” in adolescents.69 However, there is no credible evidence to support this


66
   GAPMS Report, supra note 2, at 6. (In light of the “number of adolescents who
reported anxiety and depression diagnoses prior to transitioning,” the GAPMS
Report asserts that “available research raises questions as to whether [individuals’]
distress is secondary to pre-existing behavioral health disorders[.]”)
67
   See, e.g., Rebecca L. Stotzer, Violence Against Transgender People: A Review of
United States Data, 14(3) AGGRESSION & VIOLENT BEHAV. 170–179 (2009);
Joseph G. Kosciw et al., The 2017 National School Climate Survey, GLSEN, at 94
(2018), https://www.glsen.org/sites/default/files/2019-10/GLSEN-2017-National-
School-Climate-Survey-NSCS-Full-Report.pdf; see also Amit Paley, The Trevor
Project 2020 National Survey, https://www.thetrevorproject.org/survey-2020/
(“Discrimination & Physical Harm” section) (noting that 40 percent of transgender
students reported being physically threatened or harmed due to their gender
identity).
68
   See Rylan J. Testa et al., Suicidal Ideation in Transgender People: Gender
Minority Stress and Interpersonal Theory Factors, 126(1) J. ABNORMAL PSYCH.
125–36 (2017); Jessica Hunter et al., Gender Minority Stress in Trans and Gender
Diverse Adolescents and Young People, 26(4) CLINICAL CHILD PSYCH. &
PSYCHIATRY 1182–95 (2021).
69
     GAPMS Report at 12–13.


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argument. The term “rapid onset gender dysphoria” was coined in 2018 by the

author of an anonymous survey of parents of transgender youth, who were

recruited from websites that promote the belief that “social contagion” causes

transgender identity. 70 The survey, which is the only source cited by the GAPMS

Report in support of its claim, suffers from numerous flaws and has been widely

discredited.71 Moreover, the journal in which the survey was published

subsequently published an extensive correction stating, among other things, that

“[r]apid-onset gender dysphoria (ROGD) is not a formal mental health diagnosis,”

and that the “report did not collect data from the adolescents and young adults

(AYAs) or clinicians and therefore does not validate the phenomenon.” 72




70
  Id. at 12; Lisa Littman, Parent Reports of Adolescents and Young Adults
Perceived to Show Signs of a Rapid Onset of Gender Dysphoria. 14(3) PLOS ONE
e0214157, at 2, 8–9 (Aug. 2018),
https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0202330 (stating
that survey participants were recruited from the websites
YouthTransCriticalProfessionals.org, TransgenderTrend.com, and
4thWaveNow.com).
71
  See, e.g., Susan D. Boulware et al., Biased Science: The Texas and Alabama
Measures Criminalizing Medical Treatment for Transgender Children and
Adolescents Rely on Inaccurate and Misleading Scientific Claims 1, 18 (Apr. 28,
2022), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4102374.
72
  Lisa Littman, Correction: Parent Reports of Adolescents and Young Adults
Perceived to Show Signs of a Rapid Onset of Gender Dysphoria, 14(3) PLOS ONE
e0214157 (Mar. 2019),
https://journals.plos.org/plosone/article?id=10.1371%2Fjournal.pone.0214157.


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Significantly, the GAPMS Report does not cite or even mention this correction.73

         Moreover, subsequent peer-reviewed research has not found support “for a

new etiologic phenomenon of rapid onset gender dysphoria during adolescence.” 74

On the contrary, one recent study showed that most adolescents—nearly 70%—

referred to a clinic for puberty blockers or hormone therapy had known their

gender was different from the one assigned at birth for three or more years. 75 The

study also showed no correlation between recent gender knowledge (defined as

two years or less having passed since you “realized your gender was different from

what other people called you”) and support from online friends or transgender

friends.76




73
   The GAPMS Report’s reliance on the survey is also puzzling: According to the
report, studies (such as surveys) that “rel[y] heavily” on participants’ subjective
responses “likely [have] biased and invalid” results. GAPMS Report. supra note 2,
at 15.
74
  Greta R. Bauer et al., Do Clinical Data from Transgender Adolescents Support
the Phenomenon of “Rapid Onset Gender Dysphoria”?, 243 J. PEDIATRICS 224,
225–26 (2022), https://www.jpeds.com/article/S0022-3476(21)01085-4/pdf (“This
putative phenomenon was posited based on survey data from a convenience sample
of parents recruited from websites, and may represent the perceptions or
experiences of those parents, rather than of adolescents, particularly those who
may enter into clinical care.” (internal citations omitted)).
75
     See id. at 225 fig.
76
     Id. at 224–27.


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        B.    The Vast Majority of Adolescents Diagnosed with Gender
              Dysphoria Will Persist Through Adulthood.
        The GAPMS Report asserts that “the majority of young adolescents who

exhibit signs of gender dysphoria eventually desist and conform to their natal

sex[.]” 77 However, the sources it cites in support of its “desistance” claim—an

editorial written by James Cantor and an “assessment” that Cantor prepared for

AHCS—state only that “desistance” is common among prepubertal children with

gender dysphoria.78 The GAPMS Report improperly conflates prepubertal

children with adolescents, which is an important distinction, as prepubertal

children are not eligible under the Guidelines for any of the gender-affirming,

medical interventions excluded from coverage by the Medicaid Ban.79 The

Guidelines endorse the use of medical interventions only to treat adolescents and

adults with gender dysphoria, and only when the relevant criteria are met. 80



77
     GAPMS Report, supra note 2, at 14.
78
  See id. at 20, 27–28, 39; James M. Cantor, Transgender and Gender Diverse
Children and Adolescents: Fact-Checking of AAP Policy, J. Sex & Marital
Therapy 307, 308–09 (2019),
https://www.ohchr.org/sites/default/files/Documents/Issues/SexualOrientation/IES
OGI/Other/Rebekah_Murphy_20191214_JamesCantor-fact-checking_AAP-
Policy.pdf (hereinafter “Cantor Editorial”)); James M. Cantor, The Science of
Gender Dysphoria and Transsexualism (May 17, 2022), GAPMS Report Attach. D
¶¶ 14–16 (hereinafter “Cantor Report”)).
79
   See Boulware, supra note 71, at 18.
80
   See Endocrine Soc’y Guidelines, supra note 23, at 3871, 3879; WPATH


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         There are no studies to support the proposition that adolescents with gender

dysphoria are likely to later identify as their sex assigned at birth, whether they

receive treatment or not.81 On the contrary, “[l]ongitudinal studies have indicated

that the emergence or worsening of gender dysphoria with pubertal onset is

associated with a very high likelihood of being a transgender adult.”82

         Moreover, while desistance may occur for many reasons, detransitioning is

not the same as regret. The State incorrectly assumes that an individual who

detransitions—the definition of which varies from study to study 83—must do so

because they have come to identify with their sex assigned at birth. This ignores

the most common reported factors that contribute to a person’s choice to




Guidelines, supra note 23, at S32, S48.
81
  See, e.g., Stewart L. Adelson, Practice Parameter on Gay, Lesbian, or Bisexual
Sexual Orientation, Gender Non-Conformity, and Gender Discordance in Children
and Adolescents, 51 J. AM. ACAD. CHILD & ADOLESCENT PSYCHIATRY 957, 964
(2020), https://pubmed.ncbi.nlm.nih.gov/22917211 (“In contrast, when gender
variance with the desire to be the other sex is present in adolescence, this desire
usually does persist through adulthood”).
82
     Rosenthal, supra note 63, at 585.
83
  Michael S. Irwig, Detransition Among Transgender and Gender-Diverse
People—An Increasing and Increasingly Complex Phenomenon, J. CLINICAL
ENDOCRINOLOGY & METABOLISM 1, 1 (June 2022),
https://pubmed.ncbi.nlm.nih.gov/35678284 (“Detransition refers to the stopping or
reversal of transitioning which could be social (gender presentation, pronouns),
medical (hormone therapy), surgical, or legal.”).


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detransition, such as pressure from parents and discrimination.84

         In addition, while the percentage of adolescents seeking gender-affirming

care has increased, that percentage remains very low—only 1.8% of high-school

students identify as transgender.85 Further, research supports that this increase in

adolescents seeking care is very likely the result of reduced social stigma and

expanded care options. 86

         C.     There Is No Accepted Protocol of “Watchful Waiting” for
                Adolescents with Gender Dysphoria.
         Based on its unsupported claim that many adolescents with gender dysphoria

will eventually come to identify as their sex assigned at birth, the GAPMS Report

questions the medical necessity of puberty blockers and hormone therapy for

adolescents and suggests that a “watchful waiting” approach may be more

appropriate. In this regard, some practitioners use a “watchful waiting” approach

for prepubertal children with gender dysphoria, which involves waiting until the

patient reaches adolescence before considering social transition. 87 However,


84
     See id. (discussing “largest study to look at detransition”).
85
  See Michelle M. Johns et al., Transgender Identity and Experiences of Violence
Victimization, Substance Use, Suicide Risk, and Sexual Risk Behaviors Among
High School Students — 19 States and Large Urban School Districts, 2017, 68
MORBIDITY & MORTALITY WKLY. REP. 67, 68 (2019),
https://pubmed.ncbi.nlm.nih.gov/30677012.
86
   See Boulware, supra note 71, at 20.
87
   Jason Rafferty, Ensuring Comprehensive Care & Support for Transgender &


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“watchful waiting” is not recommended for adolescents with gender dysphoria.88

It can cause immense harm by denying these patients the evidence-based

treatments that could alleviate their distress, and forcing them to experience full

endogenous puberty, resulting in physical changes that may be reversed—if at

all—only through surgery. 89

           D.    The International Medical Community Has Endorsed Gender-
                 Affirming Care, Contrary to the State’s Assertions.
           The GAPMS Report wrongly suggests that an international debate rages

over whether to provide gender-affirming care, at all.90 It attempts to rely on

examples from, inter alia, France, Sweden, and Finland, 91 but all of these countries

provide gender-affirming care to adolescents when medically indicated. France’s




Gender-Diverse Children & Adolescents, Am. Acad. of Pediatrics, at 4 (Oct. 2018).
88
     Id.
89
     Id.
90
   See GAPMS Report at 35–37.
91
   The GAPMS report also discusses the United Kingdom. See id. at 36. Policies
regarding gender-affirming care for adolescents vary throughout the jurisdictions
in the United Kingdom and permit gender affirming medical care for adolescents.
See, e.g., NHS Services, The Young People’s Gender Service, available at
https://www.sandyford.scot/media/4173/304280_2_0-yp-gender-service-
information_s-1.pdf. The NHS in England and Wales recently closed a public
comment period on an interim service specification that may alter some of their
policies regarding gender-affirming medical treatments for adolescents. The
interim service specification has yet to be published, and a non-interim (i.e. “a
national service specification”) is not expected for several months.


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health care system covers gender-affirming care for young people. 92 Sweden

offers gender-affirming care through its national health care system, and youth in

Sweden are able to access gender-affirming care when their providers deem it

medically necessary. 93 Finland also offers gender-affirming care to transgender

adolescents through its national healthcare system. 94

       Transgender youth also have access to gender-affirming care in developed




92
  See Emmanuel Allory et al., The Expectations of Transgender People in the
Face of their Health-Care Access Difficulties and How They Can Be Overcome: A
Qualitative Study in France, 21 PRIMARY HEALTH CARE RSCH. & DEV. 1, 2 (2020),
https://www.cambridge.org/core/services/aop-cambridge-
core/content/view/A0A151385D44C3FB8B971956DBFB5EFF/S14634236200006
38a.pdf/div-class-title-the-expectations-of-transgender-people-in-the-face-of-their-
health-care-access-difficulties-and-how-they-can-be-overcome-a-qualitative-study-
in-france-div.pdf.
93
  See Care of Children and Adolescents with Gender Dysphoria: Summary,
SOCIALSTYRELSEN (2022), https://www.socialstyrelsen.se/globalassets/sharepoint-
dokument/artikelkatalog/kunskapsstod/2022-3-7799.pdf.
94
  Recommendation (In Finnish), COHERE (June 2020),
https://palveluvalikoima.fi/documents/1237350/22895838/Transsukupuolisuus+su
ositus.pdf/82b60104-291c-7d8c-9e88-
1b1fc9bba527/Transsukupuolisuus+suositus.pdf?t=1592318544000.


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nations across the world including Australia, 95 Canada, 96 Denmark, 97 Germany, 98

Mexico, 99 New Zealand, 100 Norway, 101 and Spain, 102 among others. Although

some of these countries have debated how best to care for transgender patients,



95
   See Australian Standards of Care and Treatment Guidelines for Trans and
Gender Diverse Children and Adolescents, ROYAL CHILDREN’S HOSP. MELBOURNE
(Oct. 2021), https://auspath.org.au/wp-content/uploads/2021/10/australian-
standards-of-care-and-treatment-guidelines-for-trans-and-gender-diverse-children-
and-adolescents_v1-3.pdf.
96
   See Greta R. Bauer et al., Transgender Youth Referred to Clinics for Gender-
Affirming Medical Care in Canada, 148(5) PEDIATRICS 1 (2021).
97
   See Guidelines on Healthcare Concerning Gender Identity Matters,
RETSINFORMATION (2018), https://www.retsinformation.dk/eli/retsinfo/2019/9060.
98
  See Ethics Council Publishes Ad Hoc Recommendation on Transgender Identity
in Children and Adolescents, GERMAN ETHICS COUNSEL (Feb. 20, 2020),
https://www.ethikrat.org/mitteilungen/mitteilungen/2020/deutscher-ethikrat-
veroeffentlicht-ad-hoc-empfehlung-zu-trans-identitaet-bei-kindern-und-
jugendlichen.
99
  See Protocol for Access Without Discrimination to Health Care Services for
Lesbian, Gay, Bisexual, Transsexual, Transvestite, Transgender and Intersex
Persons and Specific Care Guidelines, GOV’T OF MEX. (June 15, 2020),
https://www.gob.mx/cms/uploads/attachment/file/558167/Versi_n_15_DE_JUNIO
_2020_Protocolo_Comunidad_LGBTTI_DT_Versi_n_V_20.pdf.
100
    See Transgender New Zealanders: Children and Young People, NEW ZEALAND
MINISTRY OF HEALTH (2020), https://www.health.govt.nz/your-health/healthy-
living/transgender-new-zealanders/transgender-new-zealanders-children-and-
young-people.
101
    See Gender Incongruence: National Academic Guideline, HELSEDIREKTORATET
(2020), https://www.helsedirektoratet.no/retningslinjer/kjonnsinkongruens.
102
    See Diego Lopez de Lara et al., Psychosocial Assessment in Transgender
Adolescents, 93 ANALES DE PEDIATRÍA ENGLISH EDITION 1 (2020),
https://europepmc.org/article/MED/32144041.


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none have come close to banning gender-affirming care for all minors. 103 As

described below, the Medicaid Ban would make Florida an outlier in the

international medical community, not the norm.

IV.     The Medicaid Ban Would Irreparably Harm Many Medicaid Recipients
        with Gender Dysphoria By Denying Them the Treatment They Need.
        The Medicaid Ban denies Medicaid recipients in Florida with gender

dysphoria access to medical interventions that are designed to improve health

outcomes and alleviate suffering and that are grounded in science and endorsed by

the medical community. The medical treatments excluded from coverage by the

Medicaid Ban can be a crucial part of treatment for adolescents with gender

dysphoria and necessary to preserve their health. As discussed above, research

shows that adolescents with gender dysphoria who receive puberty blockers and/or

hormone therapy experience less depression, anxiety, and suicidal ideation. Several

studies have found that hormone therapy is associated with reductions in the rate of

suicide attempts and significant improvement in quality of life. 104 In light of this




103
   See Brandt, 47 F.4th 661, 671 (observing that “[e]ven international bodies that
consider hormone treatment for adolescents to be ‘experimental’ have not banned
the care” implicated by the Arkansas law banning gender-affirming care).
104
   See M. Hassan Murad et al., Hormonal Therapy and Sex Reassignment: A
Systematic Review and Meta-Analysis of Quality of Life and Psychosocial
Outcomes, 72(2) CLINICAL ENDOCRINOLOGY 214 (Feb. 2010),
https://onlinelibrary.wiley.com/doi/10.1111/j.1365-2265.2009.03625.x; see also
Turban, supra note 53.

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evidence supporting the connection between lack of access to gender-affirming care

and lifetime suicide risk, banning such care can put patients’ lives at risk.

                                  CONCLUSION
      For the foregoing reasons, Defendants’ motion for summary judgment should

be denied.




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Dated: April 28, 2023                   Respectfully submitted,

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                      CERTIFICATE OF WORD COUNT

      According to Microsoft Word, the word processing system used to prepare

this brief, there are 6,480 total words contained within the brief.


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      Pursuant to Local Rule 7.1(B), counsel for amici conferred with counsel for

the parties on April 28, 2023. Plaintiffs and Defendants consented to the filing of

amici’s brief.


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